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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

   LIGHTSPEED MEDIA CORP.,

         Plaintiff,

   vs.                                           No.   3:12-cv-889-DRH-SCW

   ANTHONY SMITH, et al.,

         Defendants.


                            MEMORANDUM AND ORDER

   HERNDON, Chief Judge:

         This matter is before the Court on Defendants Anthony Smith (“Smith”),

   Comcast Cable Communications LLC and Comcast Corporate Representative #1

   (together, “Comcast”), and SBC Internet Services, Inc. d/b/a AT&T Internet

   Services’ (“AT&T”) (collectively “defendants”) joint motion for contempt, or in the

   alternative, for an order to plaintiff’s counsel to show cause why they each should

   not be held in contempt (Doc. 107). Plaintiff’s counsel Paul Duffy (“Duffy”) and

   Paul Hansmeier (“Hansmeier”) responded (Docs. 111, 113). At the direction of the

   Court (Docs. 112, 117), defendants filed a reply (Doc. 119). On February 13,

   2014, the Court held a hearing on the issues (Doc. 123). For the following reasons,

   the defendants’ motion will be GRANTED.

                                    I.   Background

         On December 14, 2011, Lightspeed Media Corporation (“Lightspeed”) filed

   suit in the Circuit Court of the Twentieth Judicial District in St. Clair County.
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   Lightspeed owns or operates one or more paid-subscription adult entertainment

   websites. In its first complaint, Lightspeed alleged that John Doe and more than

   6,600 “co-conspirators” had gained unauthorized access to its website.           On

   December 16, 2011, the circuit court granted an ex parte motion for leave to obtain

   discovery by subpoena, from dozens of Internet Service Providers (“ISPs”), of

   information personally identifying the defendants.          AT&T and Comcast

   subsequently filed motions to quash the subpoenas and/or for a protective order.

   On May 22, 2013, the Illinois Supreme Court directed the circuit court to vacate its

   order denying the motion to quash.

         On August 3, 2012, Lightspeed filed an amended complaint. Lightspeed

   contended that Smith accessed content from Lightspeed’s password-protected

   websites without authorization.    Lightspeed asserted that AT&T and Comcast

   improperly opposed Lightspeed’s discovery, failed to act to protect Lightspeed’s

   websites, and conspired with their customers to Lightspeed’s detriment.

   Specifically, Lightspeed alleged 10 Counts: Computer Fraud and Abuse (Count I),

   Conversion (Count II), Unjust Enrichment (Count III), Unjust Enrichment (Count

   IV), Count V (Breach of Contract), Civil Conspiracy (Count VI), Civil Conspiracy

   (Count VII), Illinois Consumer Fraud and Deceptive Practices Act (Count VIII),

   Aiding and Abetting (Count X). AT&T removed this action to federal court on

   August 9, 2012.

         Plaintiff thereafter filed an emergency motion for Discovery prior to the Rule

   26(f) Conference (Doc. 9) requesting the ISP information.        Judge G. Patrick

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   Murphy held a hearing on the issue and denied the motion (Doc. 23). Defendants

   each filed motions to dismiss (Docs. 26, 28, 36). Prior to the resolution of the

   motions to dismiss, Lightspeed entered a notice of voluntary dismissal on March

   21, 2013.   Defendants subsequently moved for attorney’s fees pursuant to 28

   U.S.C. § 1927 (Docs. 61, 78, 82).     Judge Murphy granted Defendant Smith’s

   motion (Doc. 65) and counsel (Duffy, Hansmeier, and John Steele (“Steele”)) sought

   reconsideration of that order (Docs. 66, 68, 74). On November 13, 2013, Judge

   Murphy held a hearing on the motions for reconsideration and the motions for

   attorney’s fees by ComCast and AT&T (Doc. 96) in which he deferred ruling.

         On November 27, 2013, Judge Murphy denied the motions to vacate, or in

   the alternative, reconsider the order granting Smith’s motion for attorney fees,

   granted ComCast’s and AT&T’s motions for attorney’s fees, and ordered that

   pursuant to 28 U.S.C. § 1927, Duffy, Hansmeier, and Steele are jointly and

   severally liable, and shall pay within 14 days of the order (December 11, 2013),

   attorney fees and costs to Smith in the amount of $72,367.00, to AT&T in the

   amount of $119,637.05, and to ComCast in the amount of $69,021.26 for a total

   judgment of $261,00252.11 with interest as provided by law (Doc. 100). Duffy,

   Hansmeier, and Steele filed a notice of Appeal on December 12, 2013.

         On December 27, 2013, defendants filed a joint motion for contempt, or in

   the alternative, for an order to plaintiffs’ counsel to show cause why they each

   should not be held in contempt (Doc. 107).         Plaintiff’s counsel Duffy and

   Hansmeier responded (Doc. 111, 113), Steele filed a motion to stay the sanction’s

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   order (Doc. 114), and, at the direction of the Court (Docs. 112, 118), defendants

   filed a reply (Doc. 119).

         Defendants request 1) an order holding in contempt plaintiffs’ counsel Steele,

   Duffy, and Hansmeier or, in the alternative, 2) an order requiring Duffy, Hansmeier

   and Steele to show cause why they should not each be held in contempt for their

   failure to timely comply with the fee order. In their reply, defendants focus on the

   contempt. They specifically request that this Court hold Duffy, Hansmeier and

   Steele in contempt of Court, and also order them to pay the defendants attorneys’

   fees incurred in seeking this finding of contempt, along with interest and additional

   daily fines for each day the sanctioned attorneys fail to make any and all payment(s)

   ordered.

         Plaintiff’s counsels’ responses assert three points: (1) defendants have not

   submitted any evidence regarding compliance (Doc. 113 at 2), (2) the order is a

   money judgment and therefore not properly enforceable through contempt

   proceedings (Doc. 111 at 3-5; Doc. 113 at 2-4), and (3) defendants have otherwise

   failed to establish the elements of civil contempt (Doc. 111 at 5-6). Hansmeier

   further asserts that in the alternative, the Court should grant plaintiff’s counsel

   leave to seek a stay of the November 27, 2013 order (Doc. 113 at 4-6).

         The Court held a hearing on defendants’ motion for contempt on February

   13, 2014 (Doc. 124). During the proceedings, plaintiff’s counsel admitted on the

   record to noncompliance, each stating that they had not paid the sanction amount

   to defendants or otherwise sought a supersedeas bond. The Court also addressed

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   plaintiff’s counsels’ argument that the Court should consider the sanctions order as

   a money judgment, concluding that the Court’s order was not a money judgment

   but instead a sanctions order.     The Court deferred ruling on the motion for

   contempt and directed plaintiff’s counsel to file asset statements from a certified

   public accountant on or before February 24, 2014. The Court also considered

   Steele’s motion to stay (Doc. 114) and heard arguments from the parties. The

   Court denied Steele’s motion to stay on the record and addressed and similarly

   dismissed Hansmeier’s stay request (Doc. 124).

                                      II.   Analysis

   A.    Civil Contempt

         Federal courts have both inherent and statutory authority to punish for

   contempt and to coerce compliance with their orders.          International Union,

   UMWA v. Bagwell, 512 U.S. 821, 831-833 (1994). To prevail on a request for a

   contempt finding, the moving party must establish by clear and convincing evidence

   that: (1) a court order sets forth an unambiguous command; (2) the alleged

   contemnor violated that command; (3) the violation was significant, meaning the

   alleged contemnor did not substantially comply with the order; and (4) the alleged

   contemnor failed to make a reasonable and diligent effort to comply. S.E.C. v.

   Hyatt, 621 F.3d 687, 692 (7th Cir. 2010).

         There is no debate as to whether plaintiff’s counsel significantly violated

   Judge Murphy’s November 27, 2013 order (hereinafter “Sanctions Order”). As

   previously indicated, plaintiff’s counsel has not made a single payment.

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   Furthermore, Duffy, Hansmeier, and Steele failed to make a reasonable and diligent

   effort to comply with the Sanctions Order. While Steele filed a motion to stay the

   Sanctions Order, this motion was not accompanied by a supersedeas bond and was

   filed untimely. See Fed. R. Civ. P. 62(d).

         The key issue here is whether the Sanctions Order was “an unambiguous

   command.”     Plaintiff’s counsel asserted that the Sanctions Order is a money

   judgment, not an equitable decree. At the show cause hearing, the Court held that

   the Sanctions Order was an equitable decree, specifically a sanctions order.

   However, plaintiff’s counsel argues that this confusion is the primary reason they

   did not comply with the Sanctions Order.          The Court finds this argument

   disingenuous. Seventh Circuit case law is quite clear. See Cleveland Hair Clinic,

   Inc. v. Puig, 106 F.3d 165, 166 (7th Cir. 1997) (“Use of contempt power is an

   appropriate way to enforce a sanction for misconduct, which is not an ordinary

   money judgment.”) Furthermore, if plaintiff’s counsel was confused, they could

   have filed a motion to clarify with Judge Murphy.

   B.    Inability to Pay

         At the show cause hearing, plaintiff’s counsel emphatically indicated an

   inability to pay. Specifically, “I can’t pay what I don’t have” (Show Cause Hr’g Tr.

   22:16-17 (Hansmeier)).    Also, “[I]t’s extremely important because if the Court

   issues sanction order for, I don’t know, a billion dollars, we can’t pay it. And I

   don’t believe that there’s any case law to establish that – there’s not a debtor’s

   prison. I mean if we can’t pay it, we can’t pay it” (Show Cause Hr’g Tr. 19:10-15

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   (Steele)). Plaintiff’s counsel again pointed to their confusion over the nature of the

   Sanctions Order as the reason why they had not yet supplied the Court with their

   financial information. The Court therefore directed plaintiff’s counsel to provide

   asset statements prepared by a certified public accountant on or before February

   24, 2014. Plaintiff’s counsel timely submitted financial condition statements to

   the Court in camera.

         “Inability to pay is a valid defense in a contempt proceeding, but the party

   raising the defense has the burden of proving its inability to pay.” In re Re. Tech.

   Corp., 624 F.3d 376, 387 (7th Cir. 2010) (citing United States v. Rylander, 460

   U.S. 752, 757 (1983)). In the case where there has been no attempt to comply with

   the Court’s order, plaintiff’s counsel must show a “complete inability to pay.” Id.

   Plaintiff’s counsel, “stated differently, . . . [has] the burden of establishing clearly,

   plainly, and unmistakably that compliance is impossible.” Id. (internal citations

   and quotations omitted) (emphasis in original).

         The Court finds that plaintiff’s counsel has not met its burden.             They

   submitted incomplete, and to say the least suspicious, statements of financial

   condition.   Attached to each statement was a letter from their certified public

   accountant (“CPA”). In these letters, the CPA indicates a departure from generally

   accepted accounting principles. He further notes that plaintiff’s counsel elected to

   omit substantially all of the disclosures required by generally accepted accounting

   principles. The Court finds these statements insufficient to establish plaintiff’s

   counsel’s inability to pay.

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         Plaintiff’s counsel significantly violated an unambiguous order of the Court.

   They also failed meet their burden regarding their inability to pay defense.

   Accordingly, the Court finds plaintiff’s counsel Paul Duffy, Paul Hansmeier, and

   John Steele in civil contempt and defendants’ joint motion for contempt (Doc. 107)

   is GRANTED.

   C.    Civil Contempt Sanction

         “Sanctions for civil contempt are designed either to compel the contemnor

   into compliance with an existing court order or to compensate the complainant for

   losses sustained as a result of the contumacy.” U.S. v. Dowell, 257 F.3d 694, 699

   (7th Cir. 2001). Remedial sanctions compensate the complainant for his losses

   caused by the contemptuous conduct. Id. Coercive sanctions aim to coerce the

   contemnor’s compliance with a court order. Id. A coercive sanction must afford

   the contemnor the opportunity to “purge”, to avoid punishment by complying with

   the order.   Id.   The factors to be considered by the court in imposing a civil

   contempt sanction include: (1) Harm from noncompliance, (2) Probable

   effectiveness of the sanction, (3) Contemnor’s financial resources and the burden

   the sanctions may impose; and (4) Contemnor’s willfulness in disregarding the

   court’s order. United States v. United Mine Workers of America, 330 U.S. 258,

   303-304 (1947).

         The Court must “consider the character and magnitude of the harm

   threatened by continued contumacy . . . .” Id. at 304. As to the character of the

   harm, the Court finds that plaintiff’s counsel wilfully violated the Sanctions Order.

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   Plaintiff’s attorneys have made no effort to comply. In fact, until defendants filed

   the current contempt motion, plaintiff’s counsel had not addressed the Court

   regarding the Sanctions Order, merely filing a notice of appeal. While a violation

   need not be willful for the Court to impose civil contempt sanctions, willfulness

   inherent in the contemptuous act is a major consideration in determining the

   appropriate sanctions. McComb v. Jacksonville Paper Co., 336 U.S. 187, 191

   (1949) (“The absence of willfulness does not relieve from civil contempt”);

   Weitzman v. Stein, 98 F.3d 717, 719 (2d Cir. 1996); Stotler and Co. v. Able, 870

   F.2d 1158, 1163 (7th Cir. 1989); In re Federal Facilities Reality Trust, 227 F.2d

   657, 658 (7th Cir. 1955).

         The Court also finds the magnitude of harm significant. As indicated in the

   Sanctions Order, this case is “baseless” (Doc. 100 at 9). Judge Murphy ordered

   sanctions for attorney’s fees and costs because plaintiff “unreasonably and

   vexatiously multiplied the proceedings in this matter” (Doc. 100 at 10). Plaintiff’s

   counsel’s failure to address the Sanctions Order further multiplies the proceedings.

   Not only is the magnitude of the harm significant in financial terms for the

   defendant in added attorney’s fees and costs of the contempt motion but also in

   regards to the integrity of the Court. The Court again notes that plaintiff’s counsel

   made no effort to comply with the order to address the Court. Also, the Court

   cannot ignore the behavior of plaintiff’s counsel before the undersigned at the show

   cause hearing. While the Court was unable to nail down any specific lies due, in

   significant   part,   to   plaintiff’s    counsel   excellent   “attorney   speak”,   the

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   misrepresentations and half-truths presented indicate plaintiff’s counsel’s clear

   disrespect of the Court. 1 Furthermore, as the Court indicated at the hearing in

   regards to Steele’s motion to stay, “[W]ith respect to talking about the community,

   the community has to worry about lawyers who file unreasonable and vexatious

   claims. That’s where the harm to the community is . . . . The community is

   worried about lawyers, worried about lawyers that file these kind[s] of lawsuits.

   So if, in fact, Judge Murphy is right – and for the time being until the Seventh

   Circuit says something differently, I have to assume he is – the community is

   worried about guys like you” (Show Cause Hr’g Tr. 38:6-15).

            The Court is also directed to review plaintiff’s counsel’s financial resources.

   United Mine Workers of Am., 330 U.S. at 304 (“[A] court which has returned a

   conviction for contempt must, in fixing the amount of a fine to be imposed . . . as a

   means of securing future compliance, consider the amount of [the party’s] financial

   resources and the consequent seriousness of the burden to that particular [party].”)

   As previously discussed, the Court has taken into consideration plaintiff’s counsel’s

   1
      For example, in the show cause hearing, the parties addressed plaintiff’s counsel’s financial means. The Court
   specifically asked why plaintiff’s counsel had not yet submitted their financial information to the Court. Hansmeier
   indicated that he had not provided this information as of yet because they were unsure as to whether the Court was
   going to rule the order a sanction’s order or a money judgment. Again, Hansmeier indicated “I can’t pay what I don’t
   have.” Bart Huffman, Attorney for AT&T, then indicated that plaintiff’s counsel had mentioned that they have made
   millions of dollars. Steele objected to this characterization, and asked Mr. Huffman to indicate where he would have
   publically touted making millions of dollars. Mr. Huffman responded that he believed there was an article in FORBES.
   To which Mr. Steele responded, “No, absolutely, I never did, and I resent being told that I’ve said something that’s not
   true. If Mr. Huffman would like to present something that I personally made money of a certain amount, feel free, but
   it will never come, Your Honor” (Show Cause Hr’g Tr. 23:16-20). After a quick Google search, the Court quickly
   comes across the following article: Kashmir Hill, How Porn Copyright Lawyer John Steele Has Made A ‘Few Million
   Dollars’ Pursuing (Sometimes Innocent) ‘Porn Pirates,” FORBES, Oct. 15, 2012, available at
   http://www.forbes.com/sites/kashmirhill/2012/10/15/how-porn-copyright-lawyer-john-steele-justifies-his-pursuit-of-
   sometimes-innocent-porn-pirates/. Therein, Mr. Steele states in response to the article’s author suggestion that he has
   made $15 million settling these suits, “Maybe a little less. We don’t track the amount we’ve recovered. More than a
   few million.” The Court notes that while it is true this is not a “certain amount”, it is disingenuous to imply
   destitution given the statement and, at the very least, the Court deserved a full, truthful explanation of the statement.
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   ability to pay. The Court also now takes judicial notice of the same attorneys’

   ability to post a $101,650.00 supersedeas bond, Supersedeas Undertaking for

   Appeal, Ingenuity 13 LLC v. John Doe, No. 2:12-cv-08333-ODW-JCx (C.D. Cal.

   May 23, 2013), ECF No. 174, as well as their subsequent ability to post an

   additional bond in the amount of $135,933.66, Supersedeas Undertaking,

   Ingenuity 13 LLC v. John Doe, No. 2:12-cv-08333-ODW-JCx (C.D. Cal. July 23,

   2013), ECF No. 229. Plaintiff’s counsel clearly had the ability to pay in those

   instances and they failed to provide the Court with the information it needed in

   order to adequately make an accurate assessment regarding their current ability to

   pay.

          As a preliminary matter, the Court DIRECTS plaintiff’s counsel to pay

   interest on the sanction amounts pursuant to the Sanctions Order as provided by

   law. For clarification, the Court interprets this provision of the Sanctions Order as

   follows. The Court will apply the federal interest rate as contemplated in 28 U.S.C.

   § 1961, 18 U.S.C. § 3612, and 40 U.S.C. § 258(e)(1). These sections direct the

   Court to compute interest from the first day on which the defendant is liable for

   interest at a rate equal to the weekly average 1-year constant maturity Treasury

   yield for the calendar week preceding the first day on which the defendant is liable

   for interest. Plaintiff’s counsel became liable for interest on December 11, 2013.

   Therefore the .13% interest rate from the week ending December 6, 2013 will apply.

   Plaintiff’s counsel is responsible for the entire time period from the date of liability

   to the date of compliance, including those days during which this motion was

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   pending.

         The Court believes that both coercive and remedial sanctions are warranted

   in this case. See United Mine Workers of Am., 330 U.S. at 302-303; Shakman v.

   Democratic Organization of Cook County, 533 F.2d 344, 349 (7th Cir. 1976);

   Dowell, 257 F.3d at 699. The Court has determined this to be the most effective

   way to ensure compliance with the Sanctions Order and to uphold the integrity of

   the Court.

         The Court sanctions plaintiff’s attorneys in the amount of 10% of the original

   sanction amounts equally divided among Duffy, Steele, and Hansmeier.           This

   sanction is to be paid to the defendants as follows: $7,236.70 to Smith, $11,963.75

   to AT&T, and $6,902.13 to ComCast, for a total amount of $26,102.58. This

   remedial sanction contemplates the attorney’s fees and costs incurred by

   defendants during the course of litigating this contempt motion.        The Court

   acknowledges that a lodestar calculation is traditionally used. However, requiring

   defense counsel to provide billing statements would most certainly cause delay and

   further litigation thereby negating the goals of this order and only further harming

   the defendants. The previous clarification regarding interest does not apply to this

   sanction.

         Finally, plaintiff’s counsel shall comply with the Sanctions Order and this

   order within 7 days, on or before March 31, 2014. Compliance is construed by the

   Court as follows. Plaintiff’s counsel may make payment to all of the defendants of

   the ordered amounts in full. Plaintiff’s counsel may also file a motion to stay and

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   accompanying supersedeas bond of the full amount. Fed. R. Civ. P. 62(d). Bonds

   or payments of partial amounts will not be considered compliance with this Court’s

   order. Failure to comply with this order in that timeframe shall result in a $500

   per day per attorney fine for up to 30 days. After 30 days, this amount shall

   increase to $1,000 per day per attorney.

         The Court notes that defendant, Smith filed a “Renewed Motion for

   Contempt” on March 20, 2014, as the Court was finishing up the final draft of this

   order. The Court will consider that motion as a motion for an additional sanction

   for contempt since it relates directly to representations made in Court and in the

   financial statements by plaintiff’s counsel. Counsel, Steele, Duffy and Hansmeier,

   shall respond to the March 20 motion, no later than April 20, 2014.         Upon

   reviewing those responses, the Court will consider whether to require another

   hearing and the range of sanctions that it may be considering, if any.

         IT IS SO ORDERED.
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                                                Chief Judge
                                                United States District Court




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